Dear Secretary Carnahan:
This opinion letter responds to your request dated March 23, 2009, for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition (version 5) submitted by Angela Basham.
We conclude that the petition must be rejected for the following reasons:
  • The petition is not in the proper form as prescribed by Section 116.040, RSMo; and
  • The petition is not in the proper form as prescribed by Section 116.050, RSMo.
Because of our rejection of the form of the petition for the reasons stated above, we have not reviewed the petition to determine if additional deficiencies exist. Pursuant to Section 116.332.3, RSMo, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
Very truly yours,
                                              ________________________ CHRIS KOSTER Attorney General *page 1 